









Dismissed and Memorandum Opinion filed April 21, 2005









Dismissed and Memorandum Opinion filed April 21, 2005.

&nbsp;

In The

&nbsp;

Fourteenth Court of Appeals

____________

&nbsp;

NO. 14-05-00283-CV

____________

&nbsp;

JACK W.
CHISUM, Appellant

&nbsp;

V.

&nbsp;

CODY GINSEL,
ET AL., Appellees

&nbsp;



&nbsp;

On Appeal from the 12th District
Court

Walker County,
Texas

Trial Court Cause No.
22874

&nbsp;



&nbsp;

M E M O R A N D U M&nbsp; O
P I N I O N

This is an appeal from a judgment signed March 1, 2005.&nbsp; No clerk=s record has been filed.&nbsp; The clerk responsible for preparing the
record in this appeal informed the court appellant did not establish indigency
or make arrangements to pay for the record.&nbsp;


On March 22, 2005, notification was transmitted to all
parties of the court=s intention to dismiss the appeal for want of prosecution
unless, within fifteen days, appellant paid or made arrangements to pay for the
record and provided this court with proof of payment.&nbsp; See Tex.
R. App. P. 37.3(b).&nbsp; Appellant
filed no response.








Accordingly, the appeal is ordered dismissed.

&nbsp;

PER CURIAM

&nbsp;

Judgment rendered and Memorandum
Opinion filed April 21, 2005.

Panel consists of Chief Justice
Hedges and Justices Fowler and Frost. 

&nbsp;





